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                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                           TAMPA DIVISION



UNITED STATES OF AMERICA

v.                                              Case No.: 8:23-cr-00360-TPB-AAS


LESLIE BRYANT.
___________________________________ /

UNOPPOSED MOTION TO MODIFY PRETRIAL RELEASE TO ALLOW THE
  DEFENDANT TO TRAVEL TO ALABAMA FROM JANUARY 11, 2024
                THROUGH JANUARY 14, 2024

      COMES NOW, the Defendant, Ms. Leslie Bryant (“Ms. Bryant”), by and

through her undersigned attorney, hereby moves this Honorable Court for its

order modifying his conditions of pre-trial release to allow her to travel to

Alabama so that she can see her mother for her birthday. As grounds in support

thereof, Ms. Bryant states the following:

      Ms. Bryant was granted pre-trial release at her initial appearance and has

been under the supervision of Pretrial Services since. One condition of her release

prohibits Ms. Bryant from leaving the Middle District of Florida for personal

reasons without first obtaining written permission from the Court. Ms. Bryant has

learned her son and family plan to travel to Alabama to celebrate her mother’s



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birthday. Her mother is disabled and unable to travel. Ms. Bryant would like to

travel to Alabama, to spend time with her mother. Ms. Bryant would be leaving

on January 12, 2024 and would return on January 14, 2024 to the Middle District

of Florida.

      If permission to travel is granted by this Court, Ms. Bryant will advise her

Pretrial Services Officer of his intended itinerary for the days of travel. She will

return to the Middle District of Florida late on January 14, 2024.

      Undersigned counsel has communicated with Assistant United States

Attorney Jennifer Peresie who has indicated the government has no objection to

the relief sought in this motion.




                           MEMORANDUM OF LAW

      The granting of a motion to modify the conditions of release is within the

sound discretion of the Court.

      WHEREFORE, the Defendant, Ms. Leslie Bryant, respectfully moves this

Honorable Court for its Order modifying her conditions of pre-trial release

allowing her to travel to Alabama.

      DATED this 11th day of January, 2024.




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                                           Respectfully submitted,

                                           A. FITZGERAL HALL, ESQ.
                                           FEDERAL DEFENDER

                                           /s Nicole V. Hardin
                                           Nicole V. Hardin, Esq.
                                           FL. Bar No. 26194
                                           Assistant Federal Defender
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                                           Tampa, Florida 33602
                                           Telephone: (813) 228-2715
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                         CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 11th day of January 2024, a true and correct
copy of the foregoing was furnished by using the CM/ECF system with the Clerk
of the Court, which will send notice of the electronic filing to the following:

      Jennifer Peresie, AUSA

                                           /s/ Nicole V. Hardin
                                           Nicole V. Hardin, Esq.
                                           Assistant Federal Defender




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